                   Case 14-28918                        Doc 1            Filed 08/06/14                   Entered 08/06/14 18:03:58                                 Desc Main
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B1 (Official Form 1) (04/13)
                                                   United States Bankruptcy Court
                                                     Northern District of Illinois                                                                                  Voluntary Petition
Name of Debtor (if individual, enter Last, First, Middle):                                               Name of Joint Debtor (Spouse) (Last, First, Middle):
         FAP Investors, LLC
All Other Names used by the Debtor in the last 8 years                                                   All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                              (include married, maiden, and trade names):
         FKA Frozen Assets Properties, LLC
Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                            Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
(if more than one, state all):                                                                           (if more than one, state all):
         XX-XXXXXXX
Street Address of Debtor (No. & Street, City, and State):                                                Street Address of Joint Debtor (No. & Street, City, and State):
         15700 W. 103rd Street
         Lemont, IL 60439                                                      ZIP CODE                                                                                              ZIP CODE
                                                                               60439-0000
County of Residence or of the Principal Place of Business:                                               County of Residence or of the Principal Place of Business:
         Cook
Mailing Address of Debtor (if different from street address):                                            Mailing Address of Joint Debtor (if different from street address):

                                                                               ZIP CODE                                                                                              ZIP CODE

Location of Principal Assets of Business Debtor (if different from street address above):
                      Type of Debtor                                                Nature of Business                                         Chapter of Bankruptcy Code Under Which
                          (Form of Organization)                                               (Check one box.)                                    the Petition is Filed (Check one box)
                            (Check one box.)
         Individual (includes Joint Debtors)                                   Health Care Business                                               Chapter 7                    Chapter 15 Petition for
         See Exhibit D on page 2 of this form.                                                                                                                                 Recognition of a Foreign
                                                                               Single Asset Real Estate as defined in 11 U.S.C. §                 Chapter 9
                                                                                                                                                                               Main Proceeding
         Corporation (includes LLC and LLP)                                    101(51B)
                                                                                                                                                  Chapter 11
                                                                               Railroad                                                                                        Chapter 15 Petition for
         Partnership                                                                                                                              Chapter 12
                                                                               Stockbroker                                                                                     Recognition of a Foreign
         Other (If debtor is not one of the above entities, check this                                                                            Chapter 13                   Nonmain Proceeding
         box and state type of entity below.)                                  Commodity Broker
                                                                               Clearing Bank
                                                                               Other
                          Chapter 15 Debtors                                                Tax-Exempt Entity                                                    Nature of Debts
                                                                                          (Check box, if applicable.)                                             (Check one box)
  Country of debtor's center of main interests:
                                                                                                                                                   Debts are primarily consumer           Debts are
                                                                                     Debtor is a tax-exempt organization under Title
                                                                                                                                                   debts, defined in 11 U.S.C. §     primarily business
  Each country in which a foreign proceeding by, regarding, or                       26 of the United States Code (the Internal
                                                                                                                                                   101(8) as "incurred by an         debts.
  against debtor is pending:                                                         Revenue Code).
                                                                                                                                                   individual primarily for a
                                                                                                                                                   personal, family, or household
                                                                                                                                                   purpose."
                                   Filing Fee (Check one box.)                                           Check one box:                 Chapter 11 Debtors
     Full Filing Fee attached                                                                                Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                            Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must attach signed          Check if:
     application for the court's consideration certifying that the debtor is unable to pay fee except          Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     in installments. Rule 1006(b). See Official Form 3A.                                                affiliates) are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three
                                                                                                         years thereafter).
                                                                                                         ------------------------------------------------------
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must attach signed
                                                                                                         Check all applicable boxes:
     application for the court's consideration. See Official Form 3B.
                                                                                                             A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                             accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                             THIS SPACE IS FOR COURT USE ONLY

     Debtor estimates that funds will be available for distribution to unsecured creditors.
     Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for distribution to
     unsecured creditors.
Estimated Number of Creditors

  1-49           50-99           100-199        200-999         1,000-        5001-            10,001-           25,001-          50,001-           OVER
                                                                5,000         10,000           25,000            50,000           100,000           100,000
Estimated Assets

  $0 to          $50,001 to      $100,001 to    $500,001        $1,000,001    $10,000,001      $50,000,001       $100,000,001     $500,000,001      More than
  $50,000        $100,000        $500,000       to $1           to $10        to $50           to $100           to $500          to $1 billion     $1 billion
                                                million         million        million         million           million
Estimated Liabilities

  $0 to          $50,001 to      $100,001 to    $500,001        $1,000,001    $10,000,001      $50,000,001       $100,000,001     $500,000,001      More than
  $50,000        $100,000        $500,000       to $1           to $10        to $50           to $100           to $500          to $1 billion     $1 billion
                                                million         million        million         million           million
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Voluntary Petition                                                                           Name of Debtor(s):
(This page must be completed and filed in every case)                                              FAP Investors, LLC
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location                                                                                     Case Number:                                                  Date Filed:
Where Filed:        - None -
Location                                                                                     Case Number:                                                  Date Filed:
Where Filed:
              Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
Name of Debtor: - None -                                                                     Case Number:                                                  Date Filed:

District:                                                                                    Relationship:                                                 Judge:

                                       Exhibit A                                                                                    Exhibit B
                                                                                                                      (To be completed if debtor is an individual
(To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                  whose debts are primarily consumer debts.)
10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)             I, the attorney for the petitioner named in the foregoing petition, declare that I have
of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)           informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of
                                                                                             title 11, United States Code, and have explained the relief available under each such
                                                                                             chapter. I further certify that I delivered to the debtor the notice required by 11
                                                                                             U.S.C. § 342(b).
     Exhibit A is attached and made a part of this petition.                                  X
                                                                                                   Signature of Attorney for Debtor(s)                    (Date)

                                                                                      Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

     Yes, and Exhibit C is attached and made a part of this petition.
     No

                                                                                      Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:

          Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                               Information Regarding the Debtor - Venue
                                                                              (Check any applicable box.)
                  Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                  preceding the date of this petition or for a longer part of such 180 days than in any other District.
                  There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                  Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
                  principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District, or
                  the interests of the parties will be served in regard to the relief sought in this District.
                                          Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                            (Check all applicable boxes.)

                  Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)

                                       (Address of landlord)

                  Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                  permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                  possession was entered, and

                  Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
                  period after the filing of the petition.

                  Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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/s/Douglas S. Draper
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